                  Case 23-10852-KBO               Doc 227       Filed 07/21/23         Page 1 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
    In re:
                                                                   Case No. 23-10852 (KBO)
    iMedia Brands, Inc., et al., 1
                                                                   (Jointly Administered)
                         Debtors.


                              NOTICE OF APPEARANCE AND
                       DEMAND FOR NOTICES AND SERVICE OF PAPERS

             PLEASE TAKE NOTICE that Benesch, Friedlander, Coplan & Aronoff LLP hereby enters

their appearance (the “Notice of Appearance”) in the above-captioned case as counsel for Apparel

Solutions, Inc. (“ASI”), pursuant to sections 342 and 1109(b) of title 11 of the United States Code,

11 U.S.C §§ 101-1532, Rules 2002, 3017, 9007 and 9010 of the Federal Rules of Bankruptcy

Procedure, and Rule 2002-1 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware. By this Notice of Appearance, ASI requests

that copies of any and all notices and papers filed or entered in this case be given to and served

upon the following:

                                     Kevin M. Capuzzi, Esq.
                                      Steven L. Walsh, Esq.
                       BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP
                                  1313 N. Market St., Suite 1201
                                   Wilmington, Delaware 19801
                                         (302) 442-7010
                                   kcapuzzi@beneschlaw.com
                                    swalsh@beneschlaw.com



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
      Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
      (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951);
      FL Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The
      Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
                Case 23-10852-KBO        Doc 227     Filed 07/21/23      Page 2 of 4




       PLEASE TAKE FURTHER NOTICE that this constitutes not only a request for service of

the notices and papers specified above, but also includes, without limitation, a request for service

of all orders and notices of any application, motion, petition, pleading, request, complaint, or

demand, whether formal or informal, whether written or oral, and whether transmitted or conveyed

by mail, courier service, hand delivery, telephone, facsimile transmission, telegraph, telex, e-mail,

or otherwise.

       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and any subsequent

appearance, pleading, filing, claim, or suit is not intended nor shall be deemed to waive the rights

of ASI, or any member thereof, to: (1) have an Article III judge adjudicate in the first instance any

case, proceeding, matter, or controversy as to which a bankruptcy judge may not enter a final order

or judgment consistent with Article III of the United States Constitution; (2) have final orders in a

non-core case, proceeding, matter, or controversy entered only after an opportunity to object to

proposed findings of fact and conclusions of law and a de novo review by a district court judge;

(3) trial by jury in any case, proceeding, matter, or controversy so triable; (4) have the reference

withdrawn by the United States District Court in any case, proceeding, matter, or controversy

subject to mandatory or discretionary withdrawal; (5) maintain any objection to the jurisdiction

and/or venue of the Bankruptcy Court or any other court for any purpose; or (6) assert any other

rights, claims, actions, defenses, setoffs, or recoupments to which ASI, or any member thereof, is

or may be entitled under agreements, in law, or in equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments expressly are hereby reserved.



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                                                 2
          Case 23-10852-KBO   Doc 227   Filed 07/21/23    Page 3 of 4




Date: July 21, 2023                     BENESCH, FRIEDLANDER, COPLAN
Wilmington, Delaware                     & ARONOFF LLP


                                         /s/ Kevin M. Capuzzi
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                                        Attorneys for Apparel Solutions, Inc.




                                    3
             Case 23-10852-KBO        Doc 227     Filed 07/21/23    Page 4 of 4




                              CERTIFICATE OF SERVICE

      I, Kevin M. Capuzzi, Esq., a partner of the law firm of Benesch, Friedlander, Coplan &
Aronoff LLP, hereby certify that on July 21, 2023, the foregoing Notice of Appearance and
Demand for Notices and Service of Papers, was served electronically through the CM/ECF system.

 Date: July 21, 2023                               BENESCH, FRIEDLANDER, COPLAN
 Wilmington, Delaware                               & ARONOFF LLP


                                                    /s/ Kevin M. Capuzzi
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                                                   Attorneys for Apparel Solutions, Inc.
